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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378001401     METHOTREXATE 2.5MG TABLET                  4/1/1991
00378001801     METOPROLOL 25 MG TABLET                    4/1/1991
00378002301     DILTIAZEM 30MG TABLET                      4/1/1991
00378002305     DILTIAZEM 30MG TABLET                      4/1/1991
00378002801     NADOLOL 20MG TABLET                        4/1/1991
00378003001     CLORAZEPATE 3.75MG TABLET                  4/1/1991
00378003005     CLORAZEPATE 3.75MG TABLET                  4/1/1991
00378003201     METOPROLOL 50MG TABLET                     4/1/1991
00378003210     METOPROLOL 50MG TABLET                     4/1/1991
00378004001     CLORAZEPATE 7.5MG TABLET                   4/1/1991
00378004005     CLORAZEPATE 7.5MG TABLET                   4/1/1991
00378004201     AMITRIP/PERPHEN 10-4 TABLET                4/1/1991
00378004501     DILTIAZEM 60MG TABLET                      4/1/1991
00378004505     DILTIAZEM 60MG TABLET                      4/1/1991
00378004701     METOPROLOL 100MG TABLET                    4/1/1991
00378004710     METOPROLOL 100MG TABLET                    4/1/1991
00378005201     PINDOLOL 5MG TABLET                        4/1/1991
00378005301     CIMETIDINE 200MG TABLET                    4/1/1991
00378005501     TIMOLOL MALEATE 5MG TABLET                 4/1/1991
00378006001     MAPROTILINE 25MG TABLET                    4/1/1991
00378006901     INDAPAMIDE 1.25MG TABLET                   4/1/1991
00378006905     INDAPAMIDE 1.25MG TABLET                   4/1/1991
00378007001     CLORAZEPATE 15MG TABLET                    4/1/1991
00378007301     AMITRIP/PERPHEN 50-4 TABLET                4/1/1991
00378007601     FLURBIPROFEN 50MG TABLET                   4/1/1991
00378008001     INDAPAMIDE 2.5MG TABLET                    4/1/1991
00378008010     INDAPAMIDE 2.5MG TABLET                    4/1/1991
00378008101     CAPTOPRIL/HCTZ 25/15 TABLET                4/1/1991
00378008301     CAPTOPRIL/HCTZ 25/25 TABLET                4/1/1991
00378008401     CAPTOPRIL/HCTZ 50/15 TABLET                4/1/1991
00378008601     CAPTOPRIL/HCTZ 50/25 TABLET                4/1/1991
00378008701     MAPROTILINE 50MG TABLET                    4/1/1991
00378008801     CARBIDOPA/LEVO 25/100 TB SA                4/1/1991
00378009201     MAPROTILINE 75MG TABLET                    4/1/1991
00378009301     FLURBIPROFEN 100MG TABLET                  4/1/1991
00378009305     FLURBIPROFEN 100MG TABLET                  4/1/1991
00378009401     CARBIDOPA/LEVO 50/200 TB SA                4/1/1991
00378010110     TETRACYCLINE 250MG CAPSULE                 4/1/1991
00378010201     TETRACYCLINE 500MG CAPSULE                 4/1/1991
00378010205     TETRACYCLINE 500MG CAPSULE                 4/1/1991
00378010601     ERYTHROMYCIN ST 250MG TAB                  4/1/1991
00378010605     ERYTHROMYCIN ST 250MG TAB                  4/1/1991
00378010701     ERYTHROMYCIN ST 500MG TAB                  4/1/1991
00378011201     PENICILLIN VK 500MG TABLET                 4/1/1991
00378011210     PENICILLIN VK 500MG TABLET                 4/1/1991
00378011601     AMPICILLIN TR 500MG CAPSULE                4/1/1991
00378011605     AMPICILLIN TR 500MG CAPSULE                4/1/1991
00378012701     PINDOLOL 10MG TABLET                       4/1/1991
00378012901     PROPOXYPHENE HCL 65MG CAP                  4/1/1991
00378012905     PROPOXYPHENE HCL 65MG CAP                  4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378013001     PROPOXYPHENE/APAP 65/650 TB                4/1/1991
00378013005     PROPOXYPHENE/APAP 65/650 TB                4/1/1991
00378013101     PROPOXYPHENE COMP-65 CAP                   4/1/1991
00378013501     DILTIAZEM 90MG TABLET                      4/1/1991
00378013505     DILTIAZEM 90MG TABLET                      4/1/1991
00378013701     ALLOPURINOL 100MG TABLET                   4/1/1991
00378013710     ALLOPURINOL 100MG TABLET                   4/1/1991
00378014101     SPIRONOLACT/HCTZ 25/25 TAB                 4/1/1991
00378014105     SPIRONOLACT/HCTZ 25/25 TAB                 4/1/1991
00378014301     INDOMETHACIN 25MG CAPSULE                  4/1/1991
00378014310     INDOMETHACIN 25MG CAPSULE                  4/1/1991
00378014491     TAMOXIFEN 10MG TABLET                      4/1/1991
00378014589     DOXYCYCLINE 50MG CAPSULE                   4/1/1991
00378014701     INDOMETHACIN 50MG CAPSULE                  4/1/1991
00378014705     INDOMETHACIN 50MG CAPSULE                  4/1/1991
00378014805     DOXYCYCLINE 100MG CAPSULE                  4/1/1991
00378015001     CHLOROTHIAZIDE 250MG TABLET                4/1/1991
00378015201     CLONIDINE HCL 0.1MG TABLET                 4/1/1991
00378015210     CLONIDINE HCL 0.1MG TABLET                 4/1/1991
00378015501     PROPOXY-N/APAP 100-650 TAB                 4/1/1991
00378015505     PROPOXY-N/APAP 100-650 TAB                 4/1/1991
00378015601     PROBENECID 500MG TABLET                    4/1/1991
00378016001     METHYCLOTHIAZIDE 5MG TABLET                4/1/1991
00378016201     CHLOROTHIAZIDE 500MG TABLET                4/1/1991
00378016210     CHLOROTHIAZIDE 500MG TABLET                4/1/1991
00378016705     DOXYCYCLINE 100MG TABLET                   4/1/1991
00378016789     DOXYCYCLINE 100MG TABLET                   4/1/1991
00378018101     ALLOPURINOL 300MG TABLET                   4/1/1991
00378018105     ALLOPURINOL 300MG TABLET                   4/1/1991
00378018201     PROPRANOLOL 10MG TABLET                    4/1/1991
00378018210     PROPRANOLOL 10MG TABLET                    4/1/1991
00378018301     PROPRANOLOL 20MG TABLET                    4/1/1991
00378018310     PROPRANOLOL 20MG TABLET                    4/1/1991
00378018401     PROPRANOLOL 40MG TABLET                    4/1/1991
00378018410     PROPRANOLOL 40MG TABLET                    4/1/1991
00378018501     PROPRANOLOL 80MG TABLET                    4/1/1991
00378018505     PROPRANOLOL 80MG TABLET                    4/1/1991
00378018601     CLONIDINE HCL 0.2MG TABLET                 4/1/1991
00378018610     CLONIDINE HCL 0.2MG TABLET                 4/1/1991
00378019701     CHLORPROPAMIDE 100MG TABLET                4/1/1991
00378019705     CHLORPROPAMIDE 100MG TABLET                4/1/1991
00378019801     PENICILLIN VK 500MG TABLET                 4/1/1991
00378019810     PENICILLIN VK 500MG TABLET                 4/1/1991
00378019901     CLONIDINE HCL 0.3MG TABLET                 4/1/1991
00378020505     AMOXICILLIN 500MG CAPSULE                  4/1/1991
00378020589     AMOXICILLIN 500MG CAPSULE                  4/1/1991
00378020801     FUROSEMIDE 20MG TABLET                     4/1/1991
00378020810     FUROSEMIDE 20MG TABLET                     4/1/1991
00378021001     CHLORPROPAMIDE 250MG TABLET                4/1/1991
00378021010     CHLORPROPAMIDE 250MG TABLET                4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378021101     AMITRIP/CDP 12.5-5 TABLET                  4/1/1991
00378021105     AMITRIP/CDP 12.5-5 TABLET                  4/1/1991
00378021301     CHLORTHALIDONE 50MG TABLET                 4/1/1991
00378021310     CHLORTHALIDONE 50MG TABLET                 4/1/1991
00378021401     HALOPERIDOL 2MG TABLET                     4/1/1991
00378021410     HALOPERIDOL 2MG TABLET                     4/1/1991
00378021501     TOLBUTAMIDE 500MG TABLET                   4/1/1991
00378021505     TOLBUTAMIDE 500MG TABLET                   4/1/1991
00378021601     FUROSEMIDE 40MG TABLET                     4/1/1991
00378021610     FUROSEMIDE 40MG TABLET                     4/1/1991
00378021701     TOLAZAMIDE 250MG TABLET                    4/1/1991
00378021801     ATENOLOL 25MG TABLET                       4/1/1991
00378021810     ATENOLOL 25MG TABLET                       4/1/1991
00378022101     TIMOLOL MALEATE 10MG TABLET                4/1/1991
00378022201     CHLORTHALIDONE 25MG TABLET                 4/1/1991
00378022210     CHLORTHALIDONE 25MG TABLET                 4/1/1991
00378023101     ATENOLOL 50MG TABLET                       4/1/1991
00378023110     ATENOLOL 50MG TABLET                       4/1/1991
00378023201     FUROSEMIDE 80MG TABLET                     4/1/1991
00378023205     FUROSEMIDE 80MG TABLET                     4/1/1991
00378023405     METFORMIN HCL 500 MG TABLET                4/1/1991
00378023701     ETODOLAC 400MG TABLET                      4/1/1991
00378023705     ETODOLAC 400MG TABLET                      4/1/1991
00378024301     SPIRONOLACTONE 50 MG TABLET                4/1/1991
00378024501     BUMETANIDE 0.5MG TABLET                    4/1/1991
00378025301     ACYCLOVIR 400MG TABLET                     4/1/1991
00378025501     ALBUTEROL SULFATE 2MG TAB                  4/1/1991
00378025505     ALBUTEROL SULFATE 2MG TAB                  4/1/1991
00378025701     HALOPERIDOL 1MG TABLET                     4/1/1991
00378025710     HALOPERIDOL 1MG TABLET                     4/1/1991
00378026101     KETOCONAZOLE 200MG TABLET                  4/1/1991
00378027101     DIAZEPAM 2MG TABLET                        4/1/1991
00378027105     DIAZEPAM 2MG TABLET                        4/1/1991
00378027401     TAMOXIFEN 20MG TABLET                      4/1/1991
00378027493     TAMOXIFEN 20MG TABLET                      4/1/1991
00378027701     AMITRIP/CDP 25-10 TABLET                   4/1/1991
00378030201     ACYCLOVIR 800MG TABLET                     4/1/1991
00378030501     SOTALOL 80MG TABLET                        4/1/1991
00378031301     TOLMETIN SODIUM 600MG TAB                  4/1/1991
00378031701     CIMETIDINE 300MG TABLET                    4/1/1991
00378031705     CIMETIDINE 300MG TABLET                    4/1/1991
00378032101     LORAZEPAM 0.5MG TABLET                     4/1/1991
00378032105     LORAZEPAM 0.5MG TABLET                     4/1/1991
00378032701     HALOPERIDOL 5MG TABLET                     4/1/1991
00378032710     HALOPERIDOL 5MG TABLET                     4/1/1991
00378033001     AMITRIP/PERPHEN 10-2 TABLET                4/1/1991
00378033005     AMITRIP/PERPHEN 10-2 TABLET                4/1/1991
00378034501     DIAZEPAM 5MG TABLET                        4/1/1991
00378034505     DIAZEPAM 5MG TABLET                        4/1/1991
00378034701     PROPRANOLOL/HCTZ 80/25 TAB                 4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378035101     HALOPERIDOL 0.5MG TABLET                   4/1/1991
00378035110     HALOPERIDOL 0.5MG TABLET                   4/1/1991
00378035501     DICLOFENAC SOD 100MG TAB SA                4/1/1991
00378035701     PENTOXIFYLLINE 400MG TAB SA                4/1/1991
00378035705     PENTOXIFYLLINE 400 MG TAB SA               4/1/1991
00378037001     BUMETANIDE 1MG TABLET                      4/1/1991
00378037201     CIMETIDINE 400MG TABLET                    4/1/1991
00378037205     CIMETIDINE 400MG TABLET                    4/1/1991
00378037301     HYDROXYCHLOROQUINE 200MG TB                4/1/1991
00378037701     NAPROXEN 250MG TABLET                      4/1/1991
00378037705     NAPROXEN 250MG TABLET                      4/1/1991
00378041101     VERAPAMIL 240MG TABLET SA                  4/1/1991
00378041105     VERAPAMIL 240MG TABLET SA                  4/1/1991
00378041501     DIPHENOXYLATE/ATROPINE TAB                 4/1/1991
00378041510     DIPHENOXYLATE/ATROPINE TAB                 4/1/1991
00378041701     BUMETANIDE 2MG TABLET                      4/1/1991
00378042101     METHYLDOPA 500MG TABLET                    4/1/1991
00378042105     METHYLDOPA 500MG TABLET                    4/1/1991
00378042401     METOPROLOL-HCTZ 50/25MG TAB                4/1/1991
00378042701     SULINDAC 150MG TABLET                      4/1/1991
00378043301     BUPROPION HCL 75MG TABLET                  4/1/1991
00378043401     METOPROLOL-HCTZ 100/25MG TAB               4/1/1991
00378043501     BUPROPION HCL 100MG TABLET                 4/1/1991
00378043701     SPIRONOLACTONE 100MG TABLET                4/1/1991
00378044201     AMITRIP/PERPHEN 25-2 TABLET                4/1/1991
00378044205     AMITRIP/PERPHEN 25-2 TABLET                4/1/1991
00378044501     METOPROLOL-HCTZ 100/50MG TAB               4/1/1991
00378045101     NAPROXEN 500MG TABLET                      4/1/1991
00378045105     NAPROXEN 500MG TABLET                      4/1/1991
00378045701     LORAZEPAM 1MG TABLET                       4/1/1991
00378045705     LORAZEPAM 1MG TABLET                       4/1/1991
00378045710     LORAZEPAM 1MG TABLET                       4/1/1991
00378047101     FENOPROFEN 600MG TABLET                    4/1/1991
00378047701     DIAZEPAM 10MG TABLET                       4/1/1991
00378047705     DIAZEPAM 10MG TABLET                       4/1/1991
00378050101     BISOPROLOL/HCTZ 2.5/6.25 TB                4/1/1991
00378050301     BISOPROLOL/HCTZ 5/6.25 TAB                 4/1/1991
00378050501     BISOPROLOL/HCTZ 10/6.25 TAB                4/1/1991
00378050701     METHYLDOPA/HCTZ 250-15 TAB                 4/1/1991
00378051201     VERAPAMIL 80MG TABLET                      4/1/1991
00378051210     VERAPAMIL 80MG TABLET                      4/1/1991
00378052501     DILTIAZEM 120MG TABLET                     4/1/1991
00378053101     SULINDAC 200MG TABLET                      4/1/1991
00378053701     NAPROXEN SODIUM 275MG TAB                  4/1/1991
00378053705     NAPROXEN SODIUM 275MG TAB                  4/1/1991
00378054101     CIMETIDINE 800MG TABLET                    4/1/1991
00378055101     TOLAZAMIDE 500MG TABLET                    4/1/1991
00378055501     NAPROXEN 375MG TABLET                      4/1/1991
00378055505     NAPROXEN 375MG TABLET                      4/1/1991
00378057201     ALBUTEROL SULFATE 4MG TAB                  4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378057205     ALBUTEROL SULFATE 4MG TAB                  4/1/1991
00378057401     AMITRIP/PERPHEN 25-4 TABLET                4/1/1991
00378057405     AMITRIP/PERPHEN 25-4 TABLET                4/1/1991
00378057701     AMILORIDE HCL/HCTZ 5/50 TAB                4/1/1991
00378057705     AMILORIDE HCL/HCTZ 5/50 TAB                4/1/1991
00378061101     METHYLDOPA 250MG TABLET                    4/1/1991
00378061110     METHYLDOPA 250MG TABLET                    4/1/1991
00378061201     THIORIDAZINE 10MG TABLET                   4/1/1991
00378061210     THIORIDAZINE 10MG TABLET                   4/1/1991
00378061401     THIORIDAZINE 25MG TABLET                   4/1/1991
00378061410     THIORIDAZINE 25MG TABLET                   4/1/1991
00378061601     THIORIDAZINE 50MG TABLET                   4/1/1991
00378061610     THIORIDAZINE 50MG TABLET                   4/1/1991
00378061801     THIORIDAZINE 100MG TABLET                  4/1/1991
00378061810     THIORIDAZINE 100MG TABLET                  4/1/1991
00378071101     METHYLDOPA/HCTZ 250-25 TAB                 4/1/1991
00378071110     METHYLDOPA/HCTZ 250-25 TAB                 4/1/1991
00378071201     ENALAPRIL/HCTZ 5-12.5MG TAB                4/1/1991
00378071501     TIMOLOL MALEATE 20MG TABLET                4/1/1991
00378072301     ENALAPRIL/HCTZ 10-25MG TAB                 4/1/1991
00378072419     TIZANIDINE HCL 4 MG TABLET                 4/1/1991
00378073101     PROPRANOLOL/HCTZ 40/25 TAB                 4/1/1991
00378073301     NAPROXEN SODIUM 550MG TAB                  4/1/1991
00378073305     NAPROXEN SODIUM 550MG TAB                  4/1/1991
00378075101     CYCLOBENZAPRINE 10MG TABLET                4/1/1991
00378075110     CYCLOBENZAPRINE 10MG TABLET                4/1/1991
00378075701     ATENOLOL 100MG TABLET                      4/1/1991
00378075710     ATENOLOL 100 MG TABLET                     4/1/1991
00378077201     VERAPAMIL 120MG TABLET                     4/1/1991
00378077205     VERAPAMIL 120MG TABLET                     4/1/1991
00378077701     LORAZEPAM 2MG TABLET                       4/1/1991
00378077705     LORAZEPAM 2MG TABLET                       4/1/1991
00378081001     HCTZ 12.5MG CAPSULE                        4/1/1991
00378082501     CLOZAPINE 25MG TABLET                      4/1/1991
00378086001     CLOZAPINE 100MG TABLET                     4/1/1991
00378086005     CLOZAPINE 100MG TABLET                     4/1/1991
00378100101     THIOTHIXENE 1MG CAPSULE                    4/1/1991
00378100501     AZATHIOPRINE 50MG TABLET                   4/1/1991
00378101001     PIROXICAM 10MG CAPSULE                     4/1/1991
00378102005     NICARDIPINE 20MG CAPSULE                   4/1/1991
00378102077     NICARDIPINE 20MG CAPSULE                   4/1/1991
00378104901     DOXEPIN 10MG CAPSULE                       4/1/1991
00378104910     DOXEPIN 10MG CAPSULE                       4/1/1991
00378105101     ENALAPRIL MALEATE 2.5MG TAB                4/1/1991
00378105105     ENALAPRIL MALEATE 2.5MG TAB                4/1/1991
00378105201     ENALAPRIL MALEATE 5MG TAB                  4/1/1991
00378105210     ENALAPRIL MALEATE 5MG TAB                  4/1/1991
00378105301     ENALAPRIL MALEATE 10MG TAB                 4/1/1991
00378105310     ENALAPRIL MALEATE 10MG TAB                 4/1/1991
00378105401     ENALAPRIL MALEATE 20MG TAB                 4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378105405     ENALAPRIL MALEATE 20MG TAB                 4/1/1991
00378110101     PRAZOSIN 1MG CAPSULE                       4/1/1991
00378110110     PRAZOSIN 1MG CAPSULE                       4/1/1991
00378110125     PRAZOSIN 1MG CAPSULE                       4/1/1991
00378110501     GLIPIZIDE 5MG TABLET                       4/1/1991
00378110505     GLIPIZIDE 5MG TABLET                       4/1/1991
00378111001     GLIPIZIDE 10MG TABLET                      4/1/1991
00378111005     GLIPIZIDE 10MG TABLET                      4/1/1991
00378111301     GLYBURIDE MICRO 1.5MG TAB                  4/1/1991
00378112001     VERAPAMIL 120MG TABLET SA                  4/1/1991
00378112501     GLYBURIDE MICRO 3MG TABLET                 4/1/1991
00378112510     GLYBURIDE MICRO 3MG TABLET                 4/1/1991
00378113201     NADOLOL 80MG TABLET                        4/1/1991
00378113210     NADOLOL 80MG TABLET                        4/1/1991
00378113401     KETOROLAC 10MG TABLET                      4/1/1991
00378113405     KETOROLAC 10MG TABLET                      4/1/1991
00378114001     BUSPIRONE HCL 5 MG TABLET                  4/1/1991
00378114201     GLYBURIDE MICRO 6MG TABLET                 4/1/1991
00378115001     BUSPIRONE HCL 10 MG TABLET                 4/1/1991
00378115505     PROPOXY-N/APAP 100-650 TAB                 4/1/1991
00378116001     GUANFACINE 1MG TABLET                      4/1/1991
00378116580     BUSPIRONE HCL 15MG TABLET                  4/1/1991
00378116591     BUSPIRONE HCL 15MG TABLET                  4/1/1991
00378117101     NADOLOL 40MG TABLET                        4/1/1991
00378117110     NADOLOL 40MG TABLET                        4/1/1991
00378117591     BUSPIRONE HCL 30MG TABLET                  4/1/1991
00378117701     OXAPROZIN 600MG TABLET                     4/1/1991
00378118001     VERAPAMIL 180MG TABLET SA                  4/1/1991
00378118005     VERAPAMIL 180MG TABLET SA                  4/1/1991
00378119001     GUANFACINE 2MG TABLET                      4/1/1991
00378120001     ACEBUTOLOL 200MG CAPSULE                   4/1/1991
00378124201     ETODOLAC 500MG TABLET                      4/1/1991
00378124205     ETODOLAC 500MG TABLET                      4/1/1991
00378135201     TRIAMTERENE/HCTZ 37.5/25 TB                4/1/1991
00378135205     TRIAMTERENE/HCTZ 37.5/25 TB                4/1/1991
00378135501     TRIAMTERENE/HCTZ 75/50 TAB                 4/1/1991
00378135505     TRIAMTERENE/HCTZ 75/50 TAB                 4/1/1991
00378140001     ACEBUTOLOL 400MG CAPSULE                   4/1/1991
00378141001     NORTRIPTYLINE HCL 10MG CAP                 4/1/1991
00378143005     NICARDIPINE 30MG CAPSULE                   4/1/1991
00378143077     NICARDIPINE 30MG CAPSULE                   4/1/1991
00378145201     ESTRADIOL 0.5MG TABLET                     4/1/1991
00378145205     ESTRADIOL 0.5MG TABLET                     4/1/1991
00378145401     ESTRADIOL 1MG TABLET                       4/1/1991
00378145405     ESTRADIOL 1MG TABLET                       4/1/1991
00378145801     ESTRADIOL 2MG TABLET                       4/1/1991
00378145805     ESTRADIOL 2MG TABLET                       4/1/1991
00378146401     ACYCLOVIR 400MG TABLET                     4/1/1991
00378146801     ACYCLOVIR 800MG TABLET                     4/1/1991
00378156001     PHENYTOIN SOD EXT 100MG CAP                4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378156010     PHENYTOIN SOD EXT 100MG CAP                4/1/1991
00378157001     TERAZOSIN 10MG CAPSULE                     4/1/1991
00378161001     DICYCLOMINE 10MG CAPSULE                   4/1/1991
00378161005     DICYCLOMINE 10MG CAPSULE                   4/1/1991
00378162001     DICYCLOMINE 20MG TABLET                    4/1/1991
00378162005     DICYCLOMINE 20MG TABLET                    4/1/1991
00378165001     NITROFURANTOIN MCR 50MG CAP                4/1/1991
00378165005     NITROFURANTOIN MCR 50MG CAP                4/1/1991
00378170001     NITROFURANTOIN MCR 100MG CP                4/1/1991
00378180001     LEVOTHYROXINE 25MCG TAB                    4/1/1991
00378180301     LEVOTHYROXINE 50MCG TABLET                 4/1/1991
00378180501     LEVOTHYROXINE 75MCG TABLET                 4/1/1991
00378180701     LEVOTHYROXINE 88MCG TABLET                 4/1/1991
00378180901     LEVOTHYROXINE 100MCG TABLET                4/1/1991
00378181101     LEVOTHYROXINE 112MCG TABLET                4/1/1991
00378181301     LEVOTHYROXINE 125MCG TABLET                4/1/1991
00378181501     LEVOTHYROXINE 150MCG TABLET                4/1/1991
00378181701     LEVOTHYROXINE 175MCG TABLET                4/1/1991
00378181901     LEVOTHYROXINE 200MCG TABLET                4/1/1991
00378182101     LEVOTHYROXINE 300 MCG TABLET               4/1/1991
00378191001     CLONAZEPAM 0.5MG TABLET                    4/1/1991
00378191010     CLONAZEPAM 0.5MG TABLET                    4/1/1991
00378191201     CLONAZEPAM 1MG TABLET                      4/1/1991
00378191210     CLONAZEPAM 1MG TABLET                      4/1/1991
00378191401     CLONAZEPAM 2MG TABLET                      4/1/1991
00378191405     CLONAZEPAM 2MG TABLET                      4/1/1991
00378200201     THIOTHIXENE 2MG CAPSULE                    4/1/1991
00378200210     THIOTHIXENE 2MG CAPSULE                    4/1/1991
00378202001     PIROXICAM 20MG CAPSULE                     4/1/1991
00378202005     PIROXICAM 20MG CAPSULE                     4/1/1991
00378204201     BROMOCRIPTINE 2.5 MG TABLET                4/1/1991
00378204293     BROMOCRIPTINE 2.5 MG TABLET                4/1/1991
00378206301     ATENOLOL/CHLORTHAL 50/25 TB                4/1/1991
00378206401     ATENOLOL/CHLORTHAL 100/25                  4/1/1991
00378210001     LOPERAMIDE 2MG CAPSULE                     4/1/1991
00378210005     LOPERAMIDE 2MG CAPSULE                     4/1/1991
00378214601     SPIRONOLACTONE 25MG TABLET                 4/1/1991
00378214605     SPIRONOLACTONE 25MG TABLET                 4/1/1991
00378215001     MECLOFENAMATE 50MG CAPSULE                 4/1/1991
00378215005     MECLOFENAMATE 50MG CAPSULE                 4/1/1991
00378220001     ACYCLOVIR 200MG CAPSULE                    4/1/1991
00378220005     ACYCLOVIR 200MG CAPSULE                    4/1/1991
00378225291     SELEGILINE HCL 5 MG CAPSULE                4/1/1991
00378226001     TERAZOSIN 1MG CAPSULE                      4/1/1991
00378226401     TERAZOSIN 2MG CAPSULE                      4/1/1991
00378226801     TERAZOSIN 5MG CAPSULE                      4/1/1991
00378230201     PRAZOSIN 2MG CAPSULE                       4/1/1991
00378230210     PRAZOSIN 2MG CAPSULE                       4/1/1991
00378230225     PRAZOSIN 2MG CAPSULE                       4/1/1991
00378232501     NORTRIPTYLINE HCL 25MG CAP                 4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378240101     TRIFLUOPERAZINE 1MG TABLET                 4/1/1991
00378240201     TRIFLUOPERAZINE 2MG TABLET                 4/1/1991
00378240501     TRIFLUOPERAZINE 5MG TABLET                 4/1/1991
00378240505     TRIFLUOPERAZINE 5MG TABLET                 4/1/1991
00378241001     TRIFLUOPERAZINE 10MG TABLET                4/1/1991
00378241005     TRIFLUOPERAZINE 10MG TABLET                4/1/1991
00378247401     DICLOFENAC POT 50MG TABLET                 4/1/1991
00378253701     TRIAMTERENE/HCTZ 37.5/25 CP                4/1/1991
00378253710     TRIAMTERENE/HCTZ 37.5/25 CP                4/1/1991
00378261001     AMITRIPTYLINE HCL 10MG TAB                 4/1/1991
00378261010     AMITRIPTYLINE HCL 10MG TAB                 4/1/1991
00378262501     AMITRIPTYLINE HCL 25MG TAB                 4/1/1991
00378262510     AMITRIPTYLINE HCL 25MG TAB                 4/1/1991
00378265001     AMITRIPTYLINE HCL 50MG TAB                 4/1/1991
00378265010     AMITRIPTYLINE HCL 50MG TAB                 4/1/1991
00378267501     AMITRIPTYLINE HCL 75MG TAB                 4/1/1991
00378268501     AMITRIPTYLINE HCL 100MG TAB                4/1/1991
00378269501     AMITRIPTYLINE HCL 150MG TAB                4/1/1991
00378300001     MECLOFENAMATE 100MG CAPSULE                4/1/1991
00378300005     MECLOFENAMATE 100MG CAPSULE                4/1/1991
00378300501     THIOTHIXENE 5MG CAPSULE                    4/1/1991
00378300510     THIOTHIXENE 5MG CAPSULE                    4/1/1991
00378300701     CAPTOPRIL 12.5MG TABLET                    4/1/1991
00378300710     CAPTOPRIL 12.5MG TABLET                    4/1/1991
00378301201     CAPTOPRIL 25MG TABLET                      4/1/1991
00378301210     CAPTOPRIL 25MG TABLET                      4/1/1991
00378301701     CAPTOPRIL 50MG TABLET                      4/1/1991
00378301710     CAPTOPRIL 50MG TABLET                      4/1/1991
00378302201     CAPTOPRIL 100MG TABLET                     4/1/1991
00378302501     CLOMIPRAMINE 25MG CAPSULE                  4/1/1991
00378305001     CLOMIPRAMINE 50MG CAPSULE                  4/1/1991
00378307501     CLOMIPRAMINE 75MG CAPSULE                  4/1/1991
00378312501     DOXEPIN 25MG CAPSULE                       4/1/1991
00378312510     DOXEPIN 25MG CAPSULE                       4/1/1991
00378320501     PRAZOSIN 5MG CAPSULE                       4/1/1991
00378320505     PRAZOSIN 5MG CAPSULE                       4/1/1991
00378320525     PRAZOSIN 5MG CAPSULE                       4/1/1991
00378325001     NORTRIPTYLINE HCL 50MG CAP                 4/1/1991
00378325201     RANITIDINE 150MG TABLET                    4/1/1991
00378325205     RANITIDINE 150MG TABLET                    4/1/1991
00378325291     RANITIDINE 150MG TABLET                    4/1/1991
00378325401     RANITIDINE 300MG TABLET                    4/1/1991
00378325405     RANITIDINE 300MG TABLET                    4/1/1991
00378325493     RANITIDINE 300MG TABLET                    4/1/1991
00378326694     ETOPOSIDE 50MG CAPSULE                     4/1/1991
00378333170     LACTULOSE 10GM/15ML SOLN                   4/1/1991
00378333172     LACTULOSE 10GM/15ML SOLN                   4/1/1991
00378333174     LACTULOSE 10GM/15ML SOLN                   4/1/1991
00378335099     ESTRADIOL 0.05MG/DAY PATCH                 4/1/1991
00378335299     ESTRADIOL 0.1MG/DAY PATCH                  4/1/1991


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                          MYLAN EPIC STIPULATION
                                EXHIBIT A
NDC             Drug                                   EPIC Start   EPIC End Date
                                                         Date
00378335401     ORPHENADRINE COMP TABLET                   4/1/1991
00378335601     ORPHENADRINE COMP FORTE TAB                4/1/1991
00378335801     ORPHENADRINE 100MG TAB SA                  4/1/1991
00378335805     ORPHENADRINE 100MG TAB SA                  4/1/1991
00378340172     ALBUTEROL SULF 2MG/5ML SYRP                4/1/1991
00378342201     NITROFURANTOIN-MACRO 100 MG                4/1/1991
00378342524     PREDNISOLONE 15MG/5ML SYRUP                4/1/1991
00378342548     PREDNISOLONE 15MG/5ML SYRUP                4/1/1991
00378347501     NIFEDIPINE ER 30MG TAB SA                  4/1/1991
00378347530     NIFEDIPINE ER 30MG TAB SA                  4/1/1991
00378348201     NIFEDIPINE ER 60MG TAB SA                  4/1/1991
00378348230     NIFEDIPINE ER 60MG TAB SA                  4/1/1991
00378349501     NIFEDIPINE ER 90MG TAB SA                  4/1/1991
00378351593     MIRTAZAPINE 15MG TABLET                    4/1/1991
00378353093     MIRTAZAPINE 30MG TABLET                    4/1/1991
00378354593     MIRTAZAPINE 45MG TABLET                    4/1/1991
00378400101     ALPRAZOLAM 0.25MG TABLET                   4/1/1991
00378400105     ALPRAZOLAM 0.25MG TABLET                   4/1/1991
00378400301     ALPRAZOLAM 0.5MG TABLET                    4/1/1991
00378400305     ALPRAZOLAM 0.5MG TABLET                    4/1/1991
00378400501     ALPRAZOLAM 1MG TABLET                      4/1/1991
00378400505     ALPRAZOLAM 1MG TABLET                      4/1/1991
00378400701     ALPRAZOLAM 2MG TABLET                      4/1/1991
00378401001     TEMAZEPAM 15MG CAPSULE                     4/1/1991
00378401005     TEMAZEPAM 15MG CAPSULE                     4/1/1991
00378402101     DOXAZOSIN MESYLATE 1MG TAB                 4/1/1991
00378402201     DOXAZOSIN MESYLATE 2MG TAB                 4/1/1991
00378402401     DOXAZOSIN MESYLATE 4MG TAB                 4/1/1991
00378402801     DOXAZOSIN MESYLATE 8MG TAB                 4/1/1991
00378407001     KETOPROFEN 50MG CAPSULE                    4/1/1991
00378417501     NORTRIPTYLINE HCL 75MG CAP                 4/1/1991
00378421001     FLUOXETINE 10MG CAPSULE                    4/1/1991
00378422001     FLUOXETINE 20MG CAPSULE                    4/1/1991
00378425001     DOXEPIN 50MG CAPSULE                       4/1/1991
00378425010     DOXEPIN 50MG CAPSULE                       4/1/1991
00378441501     FLURAZEPAM 15MG CAPSULE                    4/1/1991
00378441505     FLURAZEPAM 15MG CAPSULE                    4/1/1991
00378443001     FLURAZEPAM 30MG CAPSULE                    4/1/1991
00378443005     FLURAZEPAM 30MG CAPSULE                    4/1/1991
00378455101     ESTROPIPATE 0.625 TABLET                   4/1/1991
00378455301     ESTROPIPATE 1.25 TABLET                    4/1/1991
00378501001     THIOTHIXENE 10MG CAPSULE                   4/1/1991
00378501010     THIOTHIXENE 10MG CAPSULE                   4/1/1991
00378505001     TEMAZEPAM 30MG CAPSULE                     4/1/1991
00378505005     TEMAZEPAM 30MG CAPSULE                     4/1/1991
00378510501     PROCHLORPERAZINE 5MG TABLET                4/1/1991
00378511001     PROCHLORPERAZINE 10MG TAB                  4/1/1991
00378520001     TOLMETIN SODIUM 400MG CAP                  4/1/1991
00378522001     DILTIAZEM ER 120MG CAP SA                  4/1/1991
00378522005     DILTIAZEM ER 120MG CAP SA                  4/1/1991


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                         MYLAN EPIC STIPULATION
                               EXHIBIT A
NDC             Drug                                  EPIC Start   EPIC End Date
                                                        Date
00378528001     DILTIAZEM ER 180MG CAP SA                 4/1/1991
00378528005     DILTIAZEM ER 180MG CAP SA                 4/1/1991
00378534001     DILTIAZEM ER 240MG CAP SA                 4/1/1991
00378534005     DILTIAZEM ER 240MG CAP SA                 4/1/1991
00378537501     DOXEPIN 75MG CAPSULE                      4/1/1991
00378537510     DOXEPIN 75MG CAPSULE                      4/1/1991
00378575001     KETOPROFEN 75MG CAPSULE                   4/1/1991
00378600401     FLUPHENAZINE 1MG TABLET                   4/1/1991
00378600405     FLUPHENAZINE 1MG TABLET                   4/1/1991
00378600901     FLUPHENAZINE 2.5MG TABLET                 4/1/1991
00378600905     FLUPHENAZINE 2.5MG TABLET                 4/1/1991
00378602501     CEPHALEXIN 250MG CAPSULE                  4/1/1991
00378605001     CEPHALEXIN 500MG CAPSULE                  4/1/1991
00378605005     CEPHALEXIN 500MG CAPSULE                  4/1/1991
00378606001     DILTIAZEM ER 60MG CAP SA                  4/1/1991
00378607401     FLUPHENAZINE 5MG TABLET                   4/1/1991
00378607405     FLUPHENAZINE 5MG TABLET                   4/1/1991
00378609001     DILTIAZEM ER 90MG CAP SA                  4/1/1991
00378609701     FLUPHENAZINE 10MG TABLET                  4/1/1991
00378609705     FLUPHENAZINE 10MG TABLET                  4/1/1991
00378612001     DILTIAZEM ER 120MG CAP SA                 4/1/1991
00378632001     VERAPAMIL 120MG CAP PELLET                4/1/1991
00378638001     VERAPAMIL 180MG CAP PELLET                4/1/1991
00378640001     ERYTHROMYCIN ES 400MG TAB                 4/1/1991
00378640005     ERYTHROMYCIN ES 400MG TAB                 4/1/1991
00378641001     DOXEPIN 100MG CAPSULE                     4/1/1991
00378641010     DOXEPIN 100MG CAPSULE                     4/1/1991
00378644001     VERAPAMIL 240MG CAP PELLET                4/1/1991
00378720001     ETODOLAC 200MG CAPSULE                    4/1/1991
00378723301     ETODOLAC 300MG CAPSULE                    4/1/1991
00378723305     ETODOLAC 300MG CAPSULE                    4/1/1991
00378725001     CEFACLOR 250MG CAPSULE                    4/1/1991
00378750001     CEFACLOR 500MG CAPSULE                    4/1/1991
00378760206     CEFACLOR 125MG/5ML SUSPEN                 4/1/1991
00378760212     CEFACLOR 125MG/5ML SUSPEN                 4/1/1991
00378760402     CEFACLOR 187MG/5ML SUSPEN                 4/1/1991
00378760409     CEFACLOR 187MG/5ML SUSPEN                 4/1/1991
00378761006     CEFACLOR 250MG/5ML SUSPEN                 4/1/1991
00378761012     CEFACLOR 250MG/5ML SUSPEN                 4/1/1991
00378761202     CEFACLOR 375MG/5ML SUSPEN                 4/1/1991
00378761209     CEFACLOR 375MG/5ML SUSPEN                 4/1/1991
00378820001     KETOPROFEN 200MG CAPSULE SA               4/1/1991
00378900493     NITROGLYCERIN .2MG/HR PATCH               4/1/1991
00378901293     NITROGLYCERIN .4MG/HR PATCH               4/1/1991
00378901693     NITROGLYCERIN .6MG/HR PATCH               4/1/1991
00378910293     NITROGLYCERIN 0.1MG/HR PTCH               4/1/1991
00378910493     NITROGLYCERIN .2MG/HR PATCH               4/1/1991
00378911293     NITROGLYCERIN .4MG/HR PATCH               4/1/1991
00378911693     NITROGLYCERIN .6MG/HR PATCH               4/1/1991
00378963943     BUTORPHANOL 10MG/ML SPRAY                 4/1/1991


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                         MYLAN EPIC STIPULATION
                               EXHIBIT A
NDC             Drug                                  EPIC Start   EPIC End Date
                                                        Date
59911594401     BUTORPHANOL 10MG/ML SPRAY                 4/1/1991
51079000220     ACETAMINOPHEN 325MG TABLET                4/1/1991
51079000222     ACETAMINOPHEN 325MG TABLET                4/1/1991
51079000240     ACETAMINOPHEN 325MG TABLET                4/1/1991
51079000420     VITAMIN C 500MG TABLET                    4/1/1991
51079000520     ASPIRIN 325MG TABLET                      4/1/1991
51079001520     NEOMYCIN 500MG TABLET                     4/1/1991
51079001820     ASPIRIN 325MG TABLET EC                   4/1/1991
51079001920     DOCUSATE SODIUM 100MG CAP                 4/1/1991
51079001940     DOCUSATE SODIUM 100MG CAP                 4/1/1991
51079001960     DOCUSATE SODIUM 100MG CAP                 4/1/1991
51079004120     FOLIC ACID 1MG TABLET                     4/1/1991
51079004920     HYDROCHLOROTHIAZIDE 25MG TB               4/1/1991
51079006020     CHLOROTHIAZIDE 250MG TABLET               4/1/1991
51079006120     CHLOROTHIAZIDE 500MG TABLET               4/1/1991
51079006620     DIPHENHYDRAMINE 50MG CAPS                 4/1/1991
51079006820     DIPYRIDAMOLE 25MG TABLET                  4/1/1991
51079006920     DIPYRIDAMOLE 50MG TABLET                  4/1/1991
51079007220     FUROSEMIDE 20MG TABLET                    4/1/1991
51079007320     FUROSEMIDE 40MG TABLET                    4/1/1991
51079008220     ISONIAZID 100MG TABLET                    4/1/1991
51079010320     SPIRONOLACTONE 25MG TABLET                4/1/1991
51079010420     SPIRONOLACT/HCTZ 25/25 TAB                4/1/1991
51079010720     AMITRIPTYLINE HCL 25MG TAB                4/1/1991
51079011120     HYDROCHLOROTHIAZIDE 50MG TB               4/1/1991
51079011520     TRIHEXYPHENIDYL 2MG TABLET                4/1/1991
51079012420     TRIHEXYPHENIDYL 5MG TABLET                4/1/1991
51079012620     METRONIDAZOLE 500MG TABLET                4/1/1991
51079013020     CHLORPROMAZINE 50MG TABLET                4/1/1991
51079013120     AMITRIPTYLINE HCL 10MG TAB                4/1/1991
51079013320     AMITRIPTYLINE HCL 50MG TAB                4/1/1991
51079014121     CHLORDIAZEPOXIDE 25MG CAP                 4/1/1991
51079016120     ACETAMINOPHEN/COD #3 TABLET               4/1/1991
51079016121     ACETAMINOPHEN/COD #3 TABLET               4/1/1991
51079019020     INDOMETHACIN 25MG CAPSULE                 4/1/1991
51079019120     INDOMETHACIN 50MG CAPSULE                 4/1/1991
51079020020     METHYLDOPA 250MG TABLET                   4/1/1991
51079020120     METHYLDOPA 500MG TABLET                   4/1/1991
51079020620     ALLOPURINOL 300MG TABLET                  4/1/1991
51079022020     BENZTROPINE MES 0.5MG TAB                 4/1/1991
51079022120     BENZTROPINE MES 1MG TABLET                4/1/1991
51079022220     BENZTROPINE MES 2MG TABLET                4/1/1991
51079027720     PROPRANOLOL 10MG TABLET                   4/1/1991
51079027820     PROPRANOLOL 20MG TABLET                   4/1/1991
51079027920     PROPRANOLOL 40MG TABLET                   4/1/1991
51079028120     IBUPROFEN 400MG TABLET                    4/1/1991
51079028220     IBUPROFEN 600MG TABLET                    4/1/1991
51079028298     IBUPROFEN 600MG TABLET                    4/1/1991
51079028320     METOCLOPRAMIDE 10MG TAB                   4/1/1991
51079028520     DIAZEPAM 5MG TABLET                       4/1/1991


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                         MYLAN EPIC STIPULATION
                               EXHIBIT A
NDC             Drug                                  EPIC Start   EPIC End Date
                                                        Date
51079028521     DIAZEPAM 5MG TABLET                       4/1/1991
51079029820     VALPROIC ACID 250MG CAPSULE               4/1/1991
51079029920     CLONIDINE HCL 0.1MG TABLET                4/1/1991
51079030020     CLONIDINE HCL 0.2MG TABLET                4/1/1991
51079030120     CLONIDINE HCL 0.3MG TABLET                4/1/1991
51079032220     PROPOXY-N/APAP 100-650 TAB                4/1/1991
51079032221     PROPOXY-N/APAP 100-650 TAB                4/1/1991
51079037420     CHLORDIAZEPOXIDE 5MG CAP                  4/1/1991
51079037421     CHLORDIAZEPOXIDE 5MG CAP                  4/1/1991
51079038520     CARBAMAZEPINE 200MG TABLET                4/1/1991
51079038620     LORAZEPAM 1MG TABLET                      4/1/1991
51079038720     LORAZEPAM 2MG TABLET                      4/1/1991
51079039620     ACETAMINOPHEN 500MG CAPLET                4/1/1991
51079041720     LORAZEPAM 0.5MG TABLET                    4/1/1991
51079041820     TEMAZEPAM 15MG CAPSULE                    4/1/1991
51079041821     TEMAZEPAM 15MG CAPSULE                    4/1/1991
51079041920     TEMAZEPAM 30MG CAPSULE                    4/1/1991
51079041921     TEMAZEPAM 30MG CAPSULE                    4/1/1991
51079042020     HYDROCODONE/APAP 5/500 TAB                4/1/1991
51079042910     METOCLOPRAMIDE 5MG/5ML SYRP               4/1/1991
51079043420     MEGESTROL 20MG TABLET                     4/1/1991
51079043520     MEGESTROL 40MG TABLET                     4/1/1991
51079047920     OXAZEPAM 30MG CAPSULE                     4/1/1991
51079048120     AMANTADINE 100MG CAPSULE                  4/1/1991
51079048520     FLUPHENAZINE 1MG TABLET                   4/1/1991
51079048620     FLUPHENAZINE 2.5MG TABLET                 4/1/1991
51079048720     FLUPHENAZINE 5MG TABLET                   4/1/1991
51079048820     FLUPHENAZINE 10MG TABLET                  4/1/1991
51079051620     CHLORPROMAZINE 100MG TABLET               4/1/1991
51079051720     CHLORPROMAZINE 200MG TABLET               4/1/1991
51079051820     CHLORPROMAZINE 10MG TABLET                4/1/1991
51079051920     CHLORPROMAZINE 25MG TABLET                4/1/1991
51079052720     FUROSEMIDE 80MG TABLET                    4/1/1991
51079056320     AMITRIPTYLINE HCL 100MG TAB               4/1/1991
51079056420     AMITRIPTYLINE HCL 150MG TAB               4/1/1991
51079056520     THIORIDAZINE 10MG TABLET                  4/1/1991
51079056620     THIORIDAZINE 25MG TABLET                  4/1/1991
51079056720     THIORIDAZINE 50MG TABLET                  4/1/1991
51079058020     THIORIDAZINE 100MG TABLET                 4/1/1991
51079058106     LEUCOVORIN CALCIUM 5MG TAB                4/1/1991
51079058205     LEUCOVORIN CALCIUM 25MG TAB               4/1/1991
51079058420     NITROFURANTOIN MCR 50MG CAP               4/1/1991
51079058520     NITROFURANTOIN MCR 100MG CP               4/1/1991
51079058720     THIOTHIXENE 2MG CAPSULE                   4/1/1991
51079058820     THIOTHIXENE 5MG CAPSULE                   4/1/1991
51079058920     THIOTHIXENE 10MG CAPSULE                  4/1/1991
51079059010     METOCLOPRAMIDE 5MG/5ML SYRP               4/1/1991
51079059620     IBUPROFEN 800MG TABLET                    4/1/1991
51079059698     IBUPROFEN 800MG TABLET                    4/1/1991
51079059819     CLINDAMYCIN HCL 150MG CAPS                4/1/1991


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                         MYLAN EPIC STIPULATION
                               EXHIBIT A
NDC             Drug                                  EPIC Start   EPIC End Date
                                                        Date
51079060120     AMOXICILLIN 500MG CAPSULE                 4/1/1991
51079060420     CEPHALEXIN 250MG CAPSULE                  4/1/1991
51079060520     CEPHALEXIN 500MG CAPSULE                  4/1/1991
51079061520     PENICILLIN VK 250MG TABLET                4/1/1991
51079061620     PENICILLIN VK 500MG TABLET                4/1/1991
51079062820     OXYBUTYNIN 5MG TABLET                     4/1/1991
51079062920     METOCLOPRAMIDE 5MG TABLET                 4/1/1991
51079063020     PRAZOSIN 1MG CAPSULE                      4/1/1991
51079063120     PRAZOSIN 2MG CAPSULE                      4/1/1991
51079064520     DOXEPIN 75MG CAPSULE                      4/1/1991
51079065120     DOXEPIN 100MG CAPSULE                     4/1/1991
51079065720     ALBUTEROL SULFATE 2MG TAB                 4/1/1991
51079065820     ALBUTEROL SULFATE 4MG TAB                 4/1/1991
51079067005     METHOTREXATE 2.5MG TABLET                 4/1/1991
51079067410     PHENYTOIN 100MG/4ML SUSP                  4/1/1991
51079068420     ATENOLOL 50MG TABLET                      4/1/1991
51079068520     ATENOLOL 100MG TABLET                     4/1/1991
51079069020     LOPERAMIDE 2MG CAPSULE                    4/1/1991
51079069120     PYRAZINAMIDE 500MG TABLET                 4/1/1991
51079074020     PERPHENAZINE 8MG TABLET                   4/1/1991
51079074320     PIROXICAM 20MG CAPSULE                    4/1/1991
51079074520     DILTIAZEM 30MG TABLET                     4/1/1991
51079074620     DILTIAZEM 60MG TABLET                     4/1/1991
51079075520     CARBIDOPA/LEVO 10/100 TAB                 4/1/1991
51079075620     CARBIDOPA/LEVO 25/100 TAB                 4/1/1991
51079075920     ATENOLOL 25MG TABLET                      4/1/1991
51079076909     ZANTAC 15MG/ML SYRUP                      4/1/1991
51079077010     CIMETIDINE 300MG/5ML LIQUID               4/1/1991
51079078320     CARBIDOPA/LEVO 25/250 TAB                 4/1/1991
51079078720     GEMFIBROZIL 600MG TABLET                  4/1/1991
51079079910     HALOPERIDOL 1MG/ML SOLUTION               4/1/1991
51079080120     METOPROLOL 50MG TABLET                    4/1/1991
51079084910     SOD CITRATE/CITRIC ACID SOL               4/1/1991
51079085010     SOD CITRATE/CITRIC ACID SOL               4/1/1991
51079085138     SOD CITRATE/CITRIC ACID SOL               4/1/1991
51079087020     CARBAMAZEPINE 100MG TAB CHW               4/1/1991
51079094708     DILTIAZEM ER 120MG CAPSULE                4/1/1991
51079097720     ENALAPRIL/HCTZ 10-25MG TAB                4/1/1991
51079098520     BUSPIRONE HCL 5 MG TABLET                 4/1/1991
51079098620     BUSPIRONE HCL 10MG TABLET                 4/1/1991
25074013106     ACTICIN 5% CREAM                          4/1/1998
25074015103     MENTAX 1% CREAM                           4/1/1998
62794000101     CLORPRES 0.1/15 TABLET                    4/1/1998
62794000250     GRANULEX SPRAY                            4/1/1998
62794000251     GRANULEX SPRAY                            4/1/1998
62794002701     CLORPRES 0.2/15 TABLET                    4/1/1998
62794007201     CLORPRES 0.3/15 TABLET                    4/1/1998
62794010154     SULFAMYLON 8.5% CREAM                     4/1/1998
62794013106     ACTICIN 5% CREAM                          4/1/1998
62794014501     DIGITEK 125MCG TABLET                     4/1/1998


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                         MYLAN EPIC STIPULATION
                               EXHIBIT A
NDC             Drug                                  EPIC Start   EPIC End Date
                                                        Date
62794014510     DIGITEK 125MCG TABLET                     4/1/1998
62794014556     DIGITEK 125MCG TABLET                     4/1/1998
62794014601     DIGITEK 250MCG TABLET                     4/1/1998
62794014610     DIGITEK 250MCG TABLET                     4/1/1998
62794014656     DIGITEK 250MCG TABLET                     4/1/1998
62794015102     MENTAX 1% CREAM                           4/1/1998
62794015103     MENTAX 1% CREAM                           4/1/1998
62794020293     NITREK 0.2MG/HR PATCH                     4/1/1998
62794020493     NITREK 0.4MG/HR PATCH                     4/1/1998
62794020693     NITREK 0.6MG/HR PATCH                     4/1/1998
62794040197     ACYCLOVIR SODIUM 50MG/ML                  4/1/1998
62794040397     ACYCLOVIR SODIUM 50MG/ML                  4/1/1998
62794050193     KRISTALOSE PACKET                         4/1/1998
62794050293     KRISTALOSE PACKET                         4/1/1998
62794067001     PHENYTEK 200MG CAPSULE                    4/1/1998
62794075093     PHENYTEK 300MG CAPSULE                    4/1/1998




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